978 F.2d 1254
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Joe Lee FULGHAM, Plaintiff-Appellant,v.COURT APPOINTED ATTORNEY IN THE CITY OF SUFFOLK, VIRGINIA,Defendant-Appellee.
    No. 92-6919.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 26, 1992Decided:  November 13, 1992
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  Richard B. Kellam, Senior District Judge.  (CA-92-655-2)
      Joe Lee Fulgham, Appellant Pro Se.
      E.D.Va.
      Affirmed.
      Before ERVIN, Chief Judge, and RUSSELL and WIDENER, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Joe Lee Fulgham appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Fulgham v. Court Appointed Attorney, No. CA-92-655-2 (E.D. Va.  Aug. 19, 1992).*  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         We grant Fulgham's motion to proceed in forma pauperis in this Court
      
    
    